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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION


      FIODOR LAPTEV

                          Plaintiff,                      Case No: 1:21-cv-20281

      vs.                                                 Complaint for Damages

      MARC WALLENDORF and GLOBAL
      HEALTH GROUP, INC
      .

                          Defendants.




                                  COMPLAINT FOR DAMAGES

    COMES NOW, Plaintiff, FIODOR LAPTEV, by and through his undersigned counsel

    states his complaint against Defendants, MARC WALLENDORF and GLOBAL

    HEALTH GROUP, INC and allege, upon facts, information, and belief, the following:

                                             PARTIES

       1. At all times material hereto, Plaintiff is a resident and citizen of the Russian

            Federation.

       2. Defendant MARC WALLENDORF is a Swiss national who, on information and

            belief, is domiciled and resides in Miami-Dade County on 3650 Mystic Pointe

            Marina Aventura, FL 33180

       3. Defendant GLOBAL HEALTH GROUP, INC. appears to be an entity that has a

            principal place of business and is domiciled in 20533 Biscayne Boulevard, Miami,

            FL 33180 according to its website on https://globalhealthgroup.com/contact/. With

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            that being said, Defendant Global Health Group, Inc. is not registered to do business

            in Florida, or any State, upon information and belief.

                                      JURISDICTION AND VENUE

       4.    Jurisdiction is proper in this Court because this is an action for damages that

            exceeds $75,000.00

       5. Venue is also proper because all of the acts and omission complained of herein

            occurred and will continue to occur in Miami-Dade County, Florida.

       6. There is complete diversity. All Defendant individuals and entities maintain their

            domicile and/or principal places of business in Miami-Dade County, Florida.

            Plaintiff is a foreign national.

       7. All conditions precedent to filing this case have been complied with or waived by

            the Defendants.

                        BACKGROUND FACTS AND ALLEGATIONS

              8. Plaintiff was introduced to Mr. Wallendorf in Mystic Pointe Aventura.

                  Defendant Wallendorf claimed to be an entrepreneur and developed an

                  “amazing product” under Global Health Group, which was originally a German

                  company doing business in Switzerland.

              9. Mr. Wallendorf solicited Plaintiff in the United States and promised Plaintiff

                  that he can take an initial investment of $80,000.00 and make $500,000.00 in a

                  few years.

              10. Mr. Wallendorf claimed there was no risk involved, and it was a “sure thing.”

              11. Moreover, Mr. Wallendorf claimed to have over 300 other investors, who also

                  invested substantial amounts of money.




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            12. After Plaintiff’s initial investment, Plaintiff noticed the share value decreased

                substantially. Mr. Wallendorf reassured Plaintiff that everything is under

                control and that the investment is “guaranteed.”

            13. All of a sudden, Mr. Wallendorf announced that he was going to close the

                Germany company, and reopen it in the United States. When Plaintiff asked for

                corporate documents and books as is his right as an investor, Plaintiff only

                received one page from 2018 without any accounting whatsoever.

            14. In addition, Mr. Wallendorf said that he would sell 49% of the company for

                $500k if Plaintiff finds him additional investors.

            15. Very recently, when my client inquired about selling some shares, Plaintiff was

                told that it is not possible because all of the money was lost, including the

                money from the “300 other investors.” The only way for Mr. Wallendorf to get

                the money, he explained, was to get more investors.

            16. Essentially, Mr. Wallendorf is setting up a “ponzi scheme” where one investor

                would pay for the buyout of another investor.

                   ALLEGATIONS FOR PIERCING THE CORPORATE VEIL

       17. Mr. Wallendorf is personally labile for any of the bad deeds conducted by

           GLOBAL HEALTH GROUP, INC. because Mr. Wallendorf dominated and

           controlled the respective entities to such an extent that the business is non-

           existent. More to the point, the business Global Health Group, Inc. maintains a

           Florida phone number, a Florida principal place of business, but is not registered

           to do business by the Florida Secretary of State.

       18. Mr. Wallendorf used, and continue to use, Global Health Group, Inc to steal

           money from Plaintiff, as well as potentially hundreds of other investors.




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       19. The corporate form of Global Health Group, Inc. had no other purpose than to

           be used for the improper purpose of scamming Plaintiff out of thousands of

           dollars.

       20. The fraudulent activity perpetrated by Mr. Wallendorf, through its corporate

           entity., caused direct and proximate pecuniary harm to Plaintiff

                                        COUNT I – FRAUD
                              (PLAINTIFF AGAINST ALL DEFENDANTS)

        21. Plaintiff incorporates and re-alleges count 1-20 and states the following in

            support:

        22. Mr. Wallendorf, through his corporate entity, made numerous untrue statements.

            These statements included, but were not limited too,

            a. Guaranteeing that he could turn $80,000 into $500,000

            b. That the investment was “no risk” and a “sure thing”

            c. There were over 300 other investors

         23. As it turned out, not a single one of the above statements were true.

            Notwithstanding that the above-mentioned statements were false; Defendants

            knew they were false because Defendants had actual knowledge the

            “investment” was nothing more than a Ponzi Scheme with no real product.

         24. Plaintiff justifiably relied on the statements Defendants made and invested

            $80,000 based on the false and misleading statements that Defendants made.

         25. Defendants made its false statements to intentionally dupe Plaintiff into paying

            Defendants $80,000

         26. As a direct and proximate result of the harm caused by Defendants, Plaintiff

            suffered in a pecuniary fashion.



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    WHEREFORE, Plaintiff demands an award for actual damages, constructive damages,

    attorney’s fees and costs, and whatever else this Court finds just and proper under the

    law.

                       COUNT II – FRAUD IN THE INDUCEMENT AGAINST ALL
                                          DEFENDANTS

           27. Mr. Wallendorf, through his corporate entity, made numerous untrue statements.

              These statements included, but were not limited too,

              a. Guaranteeing that he could turn $80,000 into $500,000

              b. That the investment was “no risk” and a “sure thing”

              c. There were over 300 other investors

           28. As it turned out, not a single one of the above statements were true.

              Notwithstanding that the above-mentioned statements were false; Defendants

              knew they were false because Defendants had actual knowledge the

              “investment” was nothing more than a Ponzi Scheme with no real product.

           29. Plaintiff justifiably relied on the statements Defendants made and invested

              $80,000 based on the false and misleading statements that Defendants made.

           30. Defendants made its false statements to intentionally dupe Plaintiff into paying

              Defendants $80,000

           31. Moreover, because of Defendant’s fraudulent conduct, Defendant induced

              Plaintiff into entering into a contract. See Exhibit A – Contract. See Exhibit B –

              English Translation of contract/

           32. As a direct and proximate result of the harm caused by Defendants, Plaintiff

              suffered in a pecuniary fashion.




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    WHEREFORE, Plaintiff demands actual damages, that the contract be void ab initio

    because it was procured by fraud, and whatever relief is just and proper.

    Dated: January 22, 2021


    Respectfully submitted,
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                                                 /s/ Andre G. Raikhelson
                                                 Andre G. Raikhelson, Esq.
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